Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 1 of 36

IMIDE ML UColenaret cela mCoM(s(=tal diam roll @ier: [1m

United States Bankruptcy Court for the:

District of

Case number (irkoowa): Chapter you are filing under: Jigs i)
Chapter 7 Lr check i thifts an; 02

Q) Chapter 11 . ip
Q) Chapter 12 UR pts amended filing

OTL =
QO) Chapter 13 MeL.

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debfor 7 to refer to a debtor filling alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2, The
Same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

eo Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your full name TAM e A a
ete etomee First name First name
> ACTU
identification (for example, $ W E co { 3
your drivers license or Middie name Middle name
passport). HeaeT
i : Last name Last name
Bring your picture
identification to your meeting
with the trustee. Suffix (Sr., Jr., Il, Ill) Suffix (Sr., Jr., li, HH)
2. All other names you
have used in the last 8 Firstname First name
years
Middle name Middle name
Include your married or
Maiden names and any
assumed, trade names and st Neate Hea nans
; doing business as names.
i First name First name
Do NOT list the name of any
separate legal entity such as -
a corporation, partnership, or Middle name Middle name
LLC that is not filing this
petition. Last name Last name
Business name (i applicable) Business name (if applicable}
Business name (if applicable) Business name (if applicable)
3. Only the last 4 digits of Ss (o
- . - - % -— xx -—
your Social Security wx - x -_4 l xx
number or federal OR OR
Individual Taxpayer 9 9
Identification number 206 = ak, = aN
(ITIN}

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Document

son, JOMEC ESA SWEET Aer

Page 2 of 36

Case number (if known),

First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only In a Joint Case}:
4. Your Employer _ _
Identification Number EN 7.7 EN
(EIN), if any.
mn SS ———
5. Where you live lf Debtor 2 lives at a different address:
Number Street Number Street
MELL HAniT 3360 LANE
Vavidsen jc AGoFb
City State Code City State ZIP Code
Cabarss
County County

If your mailing address is different from the one
above, fill it in here, Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box
f City State ZIP Code City State ZIP Code
i
;6. Why you are choosing Check one:

! this district to file for
' bankruptcy

i. one:
Over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

(3 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

() Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

Debtor 1 TA M EEGKEA 5 W CET. Hac Case number (it known)

First Name Middle Name

Case 24-30605

Doc 1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 3 of 36

Last Name

a Tell the Court About Your Bankruptcy Case

i 7,

The chapter of the
Bankruptcy Code you
are choosing fo file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010). Also, go to the top of page 1 and check the appropriate box.

hapter 7
LJ Chapter 11
(J Chapter 12
LY Chapter 13

How you will pay the fee

CJ | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

C] | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuais to Pay The Filing Fee in Instaliments (Official Form 103A).

W request that my fee be waived (‘You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
fess than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in instailments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) anc file it with your petition.

Have you filed for
bankruptcy within the
last 8 years?

iio

Ql Yes. district When Case number
MM/ DD/YYYY

District When Case number
MM/ DD /YYYY

District When Case number
MM/ DD/YYYY

10. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

whe

OQ) Yes. Debtor Relationship to you
District When Case number, if known.
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known,
MM / DD /YYYY

1.

Do you rent your
residence?

Official Form 101

LINg Goto line 12.
Dyes. Has your landlord obtained an eviction judgment against you?

Ld No. Go to line 12.

es. Fill out /nitia’ Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

Debtor 1 ye MCE ko ft Cw GET Het” Case number (known)

First Name Migdle Name

Case 24-30605

Doc 1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 4 of 36

Lest Name

a Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor Wooo to Part 4.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

C1] Yes. Name and location of business

Name cf business, if any

Number Street

City State ZiP Code

Check the appropriate box to describe your business:

C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C] Stockbroker (as defined in 11 U.S.C. § 101{53A)}

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

CI None of the above

13,

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small! business
debtor?

For a definition of smaii
business debtor, see

11 U.S.C, § 101(51D),

Official Form 101

if you are filing under Chapter 11, the courf must know whether you are a small business debtor so that it
can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

QC] No. | amnot filing under Chapter 11.
C) No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

OQ) Yes. am filing under Chapter 11, 1 am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

QO) Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntary Petition for Individuals Filing for Bankruptcy page 4

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 5 of 36

Oebtor 1 Fam CE tre D wW& GT fret Case number (it known}

First Name Middle Name Last Name

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any aK,
property that poses or is
alleged to pose athreat “I Yes. Whatis the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

Official Farm 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Document Page 6 of

nner JAMES IEA SWEET HALT

First Name Middle Name

Last Name

36

Case number (i known)

aa Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy, You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Oh certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask fora 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed #f the courtis
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C | am not required to receive a briefing about
credit counseling because of:

CL) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

OC) Disabitity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and 1 received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CJ i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Chi certify that I asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline Is granted
only for cause and Is limited to a maximum of 15
days.

Cl | am not required to receive a briefing about
credit counseling because of:

O Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

U Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 6

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 7 of 36

Debtor 1 TV amee aa SW CET Hoct Case number tit known,

First Name Middle Name Last Name '

Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8}
as “incurred by an individual primarily for a personal, family, or household purpose.”

C1 Np- Go to line 16b.
es. Go ta line 17.
16b. Are your debts primarily business debts? Gusiness debts are debts that you incurred to obtain

money for a business or investment or through the operation of the business or investment.

QO) No. Go te line 16c.
C) Yes. Go te tine 17.

16. What kind of debts do
you have?

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under
Chapter 77 C1 No. 1am not filing under Chapter 7. Go to line 18.

Do you estimate that after Nes! am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is admjpistrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and Gos

administrative expenses

are paid that funds will be Ci Yes

available for distribution

to unsecured creditors?

18. How many creditors do ba 1-49 L) 1,000-5,000 QC) 25,001-50,000
you estimate that you Ld 50-99 CQ) 5,001-10,000 Q) 50,001-100,000
owe? CE 100-199 C) 10,001-25,000 (J More than 100,000
CJ 200-999
49. How much do you = peau C1 $1,000,001-$10 million CJ $500,000,001-$1 billion
estimate your assets to $50,001-$100,000 QO) $10,000,001-$50 million C) $1,000,000,001-$10 billion
be worth? OC $100,001-$500,000 C) $50,000,001-$100 million QO $10,000,000,001-$50 billion
(J $500,001-$1 million QC) $100,000,001-$500 million CJ More than $50 billion
20. How much do you 12%0-50,000 (J $1,000,001-$10 million (J $500,000,001-$4 billion
estimate your liabilities © (J $50,001-$100,000 Q) $140,000,001-$50 million QO) $1,000,000,001-$10 billion
to be? CJ $100,001-$500,000 Q) $50,000,001-$100 million O) $10,000,000,001-$50 billion
QJ $500,001-$1 million L) $100,000,001-$500 million LJ More than $50 billion

iwi Sign Below

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct,

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who Is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

J understand making a faise statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

Ke AAP as tenre *

CS gnature of Debtor 1 Signature of Debtor 2
Executed on _ | Kl 2O9U- Executed on
MM 7 DD IYYYY MM / DD /YYYY
TIS 5 Stic dag yt ates acti AN be Sham steht ease 2 TEP he! "lene Hott id dene datahged a ane RL RR Pre A bet TAR AS ee ta?

APRA! CU dekyeliy net

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 8 of 36

Debtor 1 3 7 Y } C G Icr4 SW E t] {7 7 TC} Case number (7 knawn),

Firet Name Middle Name Last Name

mB NM SERRE WES FTW NTR LTD SOE SE RO SRR RA an A 8 loin Se CES eT MO pe ol nO a ae

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707({b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Attorney for Debtor MM / DO /YYYY

Printed name

Firm name

Number Street

City State ZIP Code
Contact phone Email address
Bar number State
na OAR as a A a RTT RR a a ht PRN A a AR YG ak a te tra ms tar die te

Bote ey AFA Ga

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 9 of 36

T.
Debtor 1 An COLI 4A SWEET +tpnt Case number (if knewn),

First Name Middle Name Last Name
CHMOD SESS Bloke RE RD Die SCONE Sy RA RT RS SE ok OREO TB ARS ey MRR aR AR TNE AIA TE ROR Aca biicciaeLa TM tO a ae EAT ET et EM TME aMal ARE thas Soa ae Sed cay ayy india a Aa ESAT rt ee
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has [ong-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

On

Mes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C) po
Yes
Did you pay or agree to pay someone who is not an attorney to help you fitl out your bankruptcy forms?

QWNo

Q) Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Nofice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understocd this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x ade x

re of Debtor 1 Signature of Debtor 2
Date al Lo aoa Date
YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone Cell phone
Email address Email address

SRT eRe gta ga kata os

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
E of 36

MUM tur lm Come ln am el ater 1

cert JANEEYTA SWEET HART
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of

(State)

Case number

(If known)
Official Form 101A
Initial Statement About an Eviction Judgment Against You 12/15

File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:

@ you rent your residence; and

your landlord has obtained a judgment for possession in an eviction, unlawful detainer action, or
similar proceeding (called eviction judgment) against you to possess your residence.

Landlord's name Aye moanase mMeat~ NC Lic and AN Ho \4~3 +e
Landlord's address of oS. N orth Cvoss Drive. $4t<2 06

Number Street

ho kee NL OC Ago ¥

City State ZIP Code

If you want to stay in your rented residence after you file your case for bankruptcy, also complete the certification below.

BR cestsication About Applicable Law and Deposit of Rent

| certify under penalty of perjury that:

WM nder the state or other nonbankruptcy law that applies to the judgment for possession (eviction judgment),
| have the right to stay in my residence by paying my landlord the entire delinquent amount.

LJ | have given the bankruptcy court clerk a deposit for the rent that would be due during the 30 days after | file
the Voluntary Petition for Individuals Filing for Bankruptcy (Official Form 101).

Ka Ad no Pemiptad x

Signature of Debtor 1 v Signature of Debtor 2
Date 7 / Io / Zo ZY Dale
mM/ DD /YYYY MM/ DD /YYYY

Stay of Eviction: (a) First 30 days after bankruptcy. If you checked both boxes above, signed the form to certify that both apply,
and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 101).

(b) Stay after the initial 30 days. If you wish to stay in your residence after that 30-day period and continue to
receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
amount to your landlord as stated in the eviction judgment before the 30-day period ends. You must also fill
out Statement About Payment of an Eviction Judgment Against You (Official Form 101B), file it with the
bankruptcy court, and serve your landlord a copy of it before the 30-day period ends.

Check the Bankruptcy Rules ( http://www.uscourts.gov/rules-policies/current-rules-practice-procedure) and the local court’s website (to find
your court's website, go to http://www.uscourts.gov/court-locator) for any specific requirements that you might have to meet to serve this
statement. 11 U.S.C. §§ 362(b)(22) and 362(I)

Official Form 101A Initial Statement About an Eviction Judgment Against You

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 11 of 36

* | G
merleaé pene Oe aud \4 319 feria pve,
p.0,60k °°" iqrsaey wee “
Corl shrtam, TL ~
- Lp : td Se.200
Am Aott-2 porover 0 6) agoura fA 7
pak, management. <SE a Ajgosves Maley ca
Amentan rt

[Gos no treress Bee SREO® _ spectre pp aox Wiel
Hynkgiie N.C.

~Dommn! o% trav gy
P.0 Box &UI4%
NEY joo wiacheser Cire

LOD_ 6 G405 CA |A503> Express

je Lys! Com
on ao% )0330 Po 60K TiS at
by Way yA Yess | B/ paso, Tx WIFE

- |
TY bank vob} Tag et lad Card 1 Pa ayo080

“Ue x
Po. bev oie Pane Oot
pallas 7K TSAwbe-ON)C oo bank
ea Fes oe$
“ : 10, bo
OP 8s | Litado FL 323%

Sy tt late Ceyiur Gi
Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 12 of 36

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

This notice is for you if: Chapter 7: Liquidation

You are an individual filing for bankruptcy, $245 filing fee
bad $78 administrative fee
+ $15 trustee surcharge

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or

$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their

household purpose.” debts and who are willing to allow their non-

exempt property to be used to pay their
creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The

The types of bankruptcy that are bankruptcy discharge relieves you after

available to individuals bankruptcy from having to pay many of your
pre-bankrupicy debts. Exceptions exist for

Individuals who meet the qualifications may file particular debts, and liens on property may still

under one of four different chapters of the

be enforced after discharge. For example, a
Bankruptcy Code:

creditor may have the right to foreclose a home

oe ee s mortgage or repossess an automobile.
m Chapter 7 — Liquidation eae .

However, if the court finds that you have
committed certain kinds of improper conduct
described in the Bankruptcy Code, the court
may deny your discharge.

m Chapter 11— Reorganization

m Chapter 12— Voluntary repayment plan
for family farmers or

fishermen You should know that even if you file

chapter 7 and you receive a discharge, some
debts are not discharged under the law.
Therefore, you may still be responsible to pay:

= Chapter 13— Voluntary repayment plan
for individuals with regular
income
m most taxes;
You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

= most student loans;

m domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. § 342(b) for Individuals Fillng for Bankruptcy (Form 2010) page

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Document

m most fines, penalties, forfeitures, and
criminal restitution obligations; and

® certain debts that are not listed in your
bankruptcy papers.

You may also be required to pay debts arising
from:

m= fraud or theft;

= fraud or defalcation while acting in breach
of fiduciary capacity;

m intentional injuries that you inflicted; and

m death or personal injury caused by
operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or
drugs.

If your debts are primarily consumer debts, the
court can dismiss your chapter 7 case if it finds
that you have enough income to repay
creditors a certain amount. You must file
Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A-1) if you are an
individual filing for bankruptcy under

chapter 7. This form will determine your
current monthly income and compare whether
your income is more than the median income
that applies in your state,

If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means
Test Calculation (Official Form 122A—2),

If your income is above the median for your
state, you must file a second form —the
Chapter 7 Means Test Calculation (Official
Form 122A-—2). The calculations on the form—
sometimes called the Afeans Test—deduct
from your income living expenses and
payments on certain debis to determine any
amount available to pay unsecured creditors. If

Page 13 of 36

your income is more than the median income
for your state of residence and family size,
depending on the results of the Means Test, the
US. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case
under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal,
you may choose to proceed under another
chapter of the Bankruptcy Code.

If you are an individual filing for chapter 7
bankruptcy, the trustee may sell your property
to pay your debts, subject to your right to
exempt the property or a portion of the
proceeds from the sale of the property. The
property, and the proceeds from property that
your bankruptcy trustee sells or Hquidates that
you are entitled to, is called exempt property.
Exemptions may enable you to keep your
home, a car, clothing, and household items or
to receive some of the proceeds if the property
is sold,

Exemptions are not automatic. To exempt
property, you must list it on Schedule C: The
Property You Claim as Exempt (Official Form
106C). If you do not list the property, the
trustee may sell it and pay all of the proceeds
to your creditors.

Chapter 11: Reorganization

$1,167 filing fee
+ 571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a
business, but is also available to individuals.
The provisions of chapter 11 are too
complicated to summarize briefly.

Notice Required by +1 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 2

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 14 of 36

trot MMe telat leit:

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Chapter 12: Repayment plan for family Under chapter 13, you must file with the court
farmers or fishermen a plan to repay your creditors all or part of the
money that you owe them, usually using your
$200 filing fee future earnings. If the court approves your
+ $78 administrative fee plan, the court will allow you to repay your

S278 ila ies debts, as adjusted by the plan, within 3 years or

5 years, depending on your income and other

imilar to ch 1 h 12 i
Similar to chapter 13, chapter 12 permits factors.

family farmers and fishermen to repay their
debts over a pericd of time using future
earnings and to discharge some debts that are
not paid.

After you make all the payments under your
plan, many of your debts are discharged. The
debts that are not discharged and that you may
still be responsible to pay include:

domestic support obligations,
Chapter 13: Repayment plan for

individuals with regular
income

most student foans,
certain taxes,
debts for fraud or theft,

$235 filing fee debts for fraud or defalcation while acting

+ $78 administrative fee in a fiduciary capacity,
$313 total fee

@ most criminal fines and restitution

Chapter 13 is for individuals who have regular obligations,

income and would like to pay all or part of = certain debts that are not listed in your
their debts in installments over a period of time bankruptcy papers,

and to discharge some debts that are not paid. = certain debts for acts that caused death or
You are eligible for chapter 13 only if your personal injury, and

debts are not more than certain dollar amounts

mB certain long-term secured debts.
set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 3

Document

Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code
requires that you promptly file detailed information
about your creditors, assets, liabilities, income,
expenses and general financial condition. The
court may dismiss your bankruptcy case if you do
not file this information within the deadlines set by
the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

For more information about the documents and
their deadlines, go to:
http:/Avwww.uscourts.gov/forms/bankruptcy-forms

Bankruptcy crimes have serious
consequences

a Ifyou knowingly and fraudulently conceal
assets or make a false oath or statement
under penalty of perjury—either orally or
in writing-—in connection with a
bankruptcy case, you may be fined,
imprisoned, or both.

= All information you supply in connection
with a bankruptcy case is subject to
examination by the Attorney General acting
through the Office of the U.S. Trustee, the
Office of the U.S. Attorney, and other
offices and employees of the U.S.
Department of Justice.

Make sure the court has your
mailing address

The bankruptcy court sends notices to the
mailing address you list on Voluntary Petition
Jor Individuals Filing for Bankruptcy (Official
Form 101). To ensure that you receive
information about your case, Bankruptcy

Rule 4002 requires that you notify the court of
any changes in your address.

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Page 15 of 36

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint
case and each spouse lists the same mailing
address on the bankruptcy petition, the
bankruptcy court generally will mail you and
your spouse one copy of each notice, unless
you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you
could receive from credit
counseling agencies

The law generally requires that you receive a
credit counseling briefing from an approved
credit counseling agency. 11 U.S.C. § 109(¢h).
If you are filing a joint case, both spouses must
receive the briefing. With limited exceptions,
you must receive it within the 180 days before
you file your bankruptcy petition. This briefing
is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you
generally must complete a financial
management instructional course before you
can receive a discharge. If you are filing a joint
case, both spouses must complete the course.

You can obtain the list of agencies approved to
provide both the briefing and the instructional
course from: http://wwew.uscourts.pov/services-
forms/bankruptcy/credit-counseling-and-debtor-
education-courses.

In Alabama and North Carolina, go to:
http://www.uscourts.gov/services-
forms/bankruptcy/credit-counseling-and-
debtor-education-courses.

Tf you do not have access to a computer, the
clerk of the bankruptcy court may be able to
help you obtain the list.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 4

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

TMU MUM lm Comic han pelelamere (tomate Mail mil tT: B

pebtor1 YAMEEKIA SWEET HART

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing} First Name Middle Name ‘Last Name
United States Bankruptcy Court for the: District of

Gase number

Official Form 106A/B
Schedule A/B: Property

QJ Check if this is an
amended filing

12/15

In each catagory, separately list and describe items. List an asset only once, If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

UO] No, Go to Part 2.

Fi Yes. Where is the property?

What is the property? Check all that apply.
wu Single-family home

] Duplex or multi-unit building

( Condominium or cooperative

11, 3360 MERCHANT LANE

Street address, if available, or other description

L) Manufactured or mobile home

) Lang
DAVIDSON NG 28036 QO invedtnent property
City State ZIP Code ) Timeshare

CJ other

Who has an interest in the property? Check one.
CABARUS Wf Debtor 1 only

County C) Debtor 2 only
CQ) Debtor 1 and Debtor 2 only
(2 At least one of the debtors and another

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
g 429,000.00 , 2,480.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known,

Q) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

If you own or have more than one, list here:

What is the property? Check all that apply.
Single-family home

Ly Duplex or multi-unit building

L) Condominium or cooperative

1.2.

Street address, if available, or other description

CL) Manufactured or mobile home
CU] Land

CJ Investment property

C) Timeshare

L) other

City State ZIP Code

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Who has an interest in the property? Check one.

CL) Debtor 1 only
County LJ Debtor 2 only
L) Debtor 1 and Debtor 2 only
() At least one of the debtors and another

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

L) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Official Form 106A/B Schedule A/B: Property

page 1

Debtor 1 SRRER A SQRO ET Qed Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

First Nama Middle Name Last Name Beeu ment Page 17 of 88 number tif knew)

What is the property? Check all that apply. Do not deduct secured claims or exemptions, Put

O) Single-fami the amount of any secured claims on Schedule D:
1.3. ingle-family home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description QO Duplex or multi-unit building soa cen a
OQ Gondomiatim-or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own’?
C} Land $ 5
CD investment property
City State. ziPCode J Timeshare Describe the nature of your ownership
O on interest (such as fee simple, tenancy by
er

the entireties, or a life estate), If known.
Who has an interest in the property? Check one.
©] Debtor 1 only

Sony L) Debtor 2 only
Q Debtor 1 and Debtor 2 only L) Check if this is community property
LJ At least one of the debtors and another {see instructions)
Other information you wish to add about this item, such as local
property identification number:
. 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 5 2,480.00
you have attached for Part 1. Write that number here, .............c::cccsccceccssoscesseesessssscaesceeseecavseseusaceenesseuseesanessees >

a Describe Your Vehicles

_ Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
; you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

[No
Yes
31. Make: MERCEDES Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: CLA 250 © debtor 1 only Creditors Who Have Claims Secured by Property. .
2019 LJ Debtor 2 only seem pen na eee eae
Year: —— U1 Debtor 1 and Debtor 2 only Current value of the Current value of the ©
i i . entire property? ortion you own?
Approximate mileage: L] At least one of the debtors and another property P y

Other information:

CJ Cheek if this is community property (see
ITS REPORTED ASCAMON PAE stone)

AD ARE AA Ana

S 35,376.60 ¢ 13,500.00

If you own or have more than one, describe here:

3.2. Make: Who has an interest in the property? Check one. —_ Do not deduct secured claims or exemptions. Put
: “ QO pebtor 4 oni the amount of any secured claims on Schedule D:
Model: QO ebtor 1 only Creditors Who Have Claims Secured by Property.
Debtor 2 only
Year: Current value of the Current value of the
. ‘ UW Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: C) At least one of the debtors and another
Other information: 5
CJ Check if this is community property (see 5

instructions)

Leen mecrnenren cre ane Soh ae ecicetite came catenin tee mena ope ote essen se ene

Official Form 1064/B Schedule A/B: Property page 2

Debtor 1
Firat Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

SPEEA SORGET PARE Filed 07/16/24

Last Name

3.4. Mako;
Model:
Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one,

QJ Debtor 1 only

J Debtor 2 only

(} Debtor 1 and Debtor 2 only

CY At feast one of the debtors and another

O) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

LY Debtor 1 only

Cl Debtor 2 only

C) Debtor 1 and Debtor 2 only

Co) At feast one of the debtors and another

L) Check if this is community property (see
instructions)

Entered 07/16/24 15:49:36 Desc Main
Page 18 of 38 number tf known)

Do not deduct secured claims or exemptions, Put
the amount of any secured claims en Schedule D:
Creditors Who Have Claims Secured by Property.
Current value of the
entire property?

Current value of the
portion you own?

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

| 4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Yi No
i] ves

4.1, Make:
Model:

Year:

Other information:

If you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

: 5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest In the property? Check ona.
©] Debtor 1 only

C) Debtor 2 only

] Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.
CI] Debtor 1 only

CY Debtor 2 only

C} Debtor 1 and Debtor 2 only

(C] At teast one of the debtors and another

CL) Cheek if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

5 15,980.00

page 3
Debtor 1

HARERASSARET DARt Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

a number (i
First Name Middle Name lastname DOCUMENT Page 19 of 83 Wieown

te == Your Personal and Household Items

| Do you own or have any legal or equitable Interest in any of the following items?

|
j
i
i
}
i
i
!

. 6. Household goods and furnishings
Exampies: Major appliances, furniture, linens, china, kitchenware

LJ No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

i Yes. Describe........ FURNITURE Ig 3,000.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
CL] No :
@ Yes. Deseribe..........' CELL PHONE COMPUTER GAMES TELEVISIONS 5 3,000.00 |
; 8 Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
Wd No
LL) Yes. Deseribe.......... $
: 9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
CL) No
id Yes. Describe.......... PIANO $ 0.00
10. Firearms
Examples: Pistols, riflas, shotguns, ammunition, and related equipment
id No
CD Yes. Describe.......... 5
| 11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
L] No
Wd Yes. Describe..........| EVERYDAY CLOTHING $ 3,000.00
_ 12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
J No
OQ) Yes. Describe.......... 3
13.Non-farm animals
Examples: Dogs, cats, birds, horses
W No
LJ Yes. Describe.......... $
, 14. Any other personal and household items you did not already list, including any health aids you did not list
id No
CJ Yes. Give specific $
information. .............
15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 5 9,000.00
for Part 3. Write that NUMBOF NEE ..........- eee eceseceenesneesereneeennsecrenenente
Official Form 1064/B Schedule A/B: Property paged

RREERASIRRET DARt_ Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Debtor 1

First Name Middia Name imine Document Page 20 of Copy mumber uncon
Eo Describe Your Financlal Assets
: Do you own or have any legal or equitable interest in any of the following? Current value of the
: portion you own?
l Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
LJ No
VS oi cccsssssstennenetnessennetnneneeiannnstnsneeneeoneenenninanneisetsetnetnstinstiesissegvinetsiisesapinavinasinesasence COS, ooo $ 388.00
' 17, Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
L] No
Yes occa Institution name:
17.1. Checking account: WELLS FARGO $ 66.00
17.2. Chacking account: $
17.3. Savings account: WELLS FARGO $
17.4. Savings account: 5
17.5. Certificates of deposit: g
17.6. Other financial account CASH APP 5 322.00
17.7. Other financial account: 5
17.8. Other financial account: $
17.8, Other financial account: $

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Wi No

CF Yes occas Institution or issuer name:

: 19, Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

1 No Name of entity: % of ownership:
ul Yes. Give specific 0% %
information about .
HEM... eeeeccceeeeeeees 0% %
0% %

Official Form 106A/B Schedule A/B: Property page 5

REE RA SORE ET Qe z Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

venient Firat Nama Middle Name Last Name Page 2 1 of SR HSM ae Men,

, 20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders,
Non-negotiable instruments are those you cannct transfer to someone by signing or delivering ther.

No

C) Yes. Give specific Issuer name:
information about
HHOM. occ ese $

21. Retirement or pension accounts

Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
Hi No

(J Yes. List each

account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension pian: $
IRA: $
Retirement account: $
Keogh: 3
Additional account: $
Additional account: $
: 22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue sarvice or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

LJ No

WD Yes on institution name or individual:
Electric: $
Gas: DOMINION ENGERY § 100.00
Heating oil: $
Security deposit on rental unit: AMH 4 RENT 5 2,395.00
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: 5
Other: 3

23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
OD Yas... Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6

JIRAEEA-SORRET aad Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Perea | First Name Middle Name Last Name Beeut t ret it Page 22 of 86 ace

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C, §§ 530(b)(1), 529A(b), and 529(b)(1).

No
CD YS cic

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

$
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
YW No
C) Yes. Give specific
information about them... $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
LC) No
YW Yes. Give specific BRAT STATUS TRADEMARK
information about them.... 5 850.00
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
L) No
Ui Yes. Give specific REAL ESTATE BROKER LICENSE AND COSMETOLIGIST LICENSE
information about them... $ 100.00

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

: 28.Tax refunds owed to you

YW no

L] Yes. Give specific information
about them, including whether
you already filed the returns State: $
and the tax years. wc eee

Federal:

Local:

. 29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

LJ No

u Yes. Give specific information.............. | CHILD SUPOORT $25 MONTHLY AND
$594 MONTHLY ARREARS TOTALLING Alimany:
AROUND $2000 Maintenance:

Divorce settlement:

$
$
Support: $ 2,000.00
$
$

Property settlement:

30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No

CL) Yes. Give specific information...............

Official Form 106A/B Schedule A/B: Property page 7
Debtor 1

SAREE RA SORBET DART Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

First Name Middle Name Last Name Deeumernt Page 23 of 6 RUMGT eee

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
No
LJ Yes. Name the insurance company

Company name: Beneficiary:
of each policy and list its value. ... em eneiciary:

Surrender or refund value:

32, Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Wd No

CL] Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

id No

{] Yes. Dascribe each claim. deeeeeneeepneterares

; 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

to set off claims

i No

CL) Yes. Describe each Claim. oo...

- 35, Any financial assets you did not already list

i

id No

LI Yes. Give specific information............

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here

5 4,452.00

oe Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

i

: 37.Do you own or have any legal or equitable interest in any business-related property?

Wi No. Go to Part 6,
LJ Yes. Go to line 38.

_ 38.Accounts receivable or commissions you already earned

id No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions,

QI Yes. Describe.......

39. Office equipment, furnishings, and supplies

Exampies; Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

Wd No

C] Yes. Deseribe........

Official Form 106A/B Schedule A/B: Property

page &

- Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
GARR ERARET PARE Filed 07/ ntere

Debtor 4 Faia ieee SoNERe Decument Page 24 of agp number (# xnown)

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Wf No
LJ Yas. Describe......,

_ 41. Inventory
ld No
CI Yes. Describe....... 5

42. Interests in partnerships or joint ventures

W@ No

L] Yes. Describe....... Name of entity: % af ownership:

%

% $

% $

43. Customer lists, mailing lists, or other compilations

lid No
L] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

XC) No
L] Yes. Describe........

44. Any business-related property you did not already list

i No
LY Yes. Give specific

information .........

ff . fF 6 «.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached 5 0.00

for Part 5, Write that MUMDbEE NET oc cccccscscscssccscccuscccsccssessosusecssssecsscecsssecesssecssassssusessussssousesquessvessusasusssacesverativsnsaseseressveseaes >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
C) Yes, Go to line 47.

Current value of the
portion you own?

Do nol deduct secured claims
or exemptions.

- 47. Farm animals
Examples: Livestock, poultry, farm-raised fish

lf No

Official Form 106A/B Schedule A/B: Property page 9
GARE RA SORRET DOG? Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Debtor 7 Mat number it kn
First Name Middla Name last Nare DOCUMENT Page 25 of Sep Wt knowin)

48, Crops—either growing or harvested

YW No
LJ Yes. Give specific
information. ............ $
49, Farm and fishing equipment, implements, machinery, fixtures, and tocls of trade
J No
OD eS occ
$
50. Farm and fishing supplies, chemicals, and feed
Wd No
CD eS i ccccssecsenesene
$
51. Any farm- and commercial fishing-related property you did not already list
0 No
LI Yes. Give specific
information. ............ 5
| 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that MUMber HELE... cesssessssnsecsecssseecsssscssesesssussosvesssessessssssssvesssssestusssucestsesastesensserstssavacsasicesivesseseaseecsecesaerscees SP
Describe All Property You Own or Have an Interest in That You Did Not List Above
: 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
J No
L] Yes. Give specific $
information. ......,.....
$
54. Add the dollar value of all of your entries from Part 7. Write that number here oo... ccc eesereseeeseestesseeseeee > si.
ee vs the Totals of Each Part of this Form
55. Part 1: Total real estate, Vie 2. ccc cc cccccccsecsssessvcssvessvecssscssussssvesauesssscsssesssuessursssessuesesesssesssesauentueasecssecsseeseessecssecaceatceseseesse s___- 2,480.00
_ 56, Part 2: Total vehicles, line 5 $ 15,980.00
' 57.Part 3: Total personal and household items, line 15 $ 9,000.00
' 58.Part 4: Total financial assets, line 36 5 4,452.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 3 0.00
. 61.Part 7: Total other property not listed, line 54 +5 0.00
62, Total personal property. Add lines 56 through 61, ...........0008 $ 29,432.00 Copy personal property total = -#F$ 29,432.00
63. Total of all property on Schedule A/B. Add line 55 + lime G2... cc cccceeesenecnecseeserseccaevessreceasscasereescesssersseasscerenee $ 31,912.00

Official Form 106A/B Schedule A/B: Property page 10
Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

MUN EM alco gurtelielamcomte (Titian te] Ol meer: [1k

pebtor 4 YAMEEKIA SWEET HART

First Name Middle Name Last Name
Debtor 2
(Spouse Hf filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: District of

Case number wee
{If known) CJ Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. {f two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executery contracts or unexpired leases?
(I No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
@ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
2. MERCEDES BENZ PERSONAL VEHICLE

Name

14372 HERITAGE PARKWAY

Number Street

FORT WORTH TEXAS 76177

City State ZIP Code

2 AMH 2014-3 BORROWER LP AND AH4R MANAGEMENT | Dominical

Name
16905 NORTHCROSS DRIVE AeSporral (ease
Number Street
HUNTERSVILLE NC 28078
City State ZIP Code
23) AT&T CO SIGNER ON PHONE SERVCE
Name
PO BOX 6463
Number Street
CAROL STREAM IL 60197
City Stata ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Debtor?  YAMEEKIA

SWEET

HARTDocument Page 27 of 36

Case number ¢ known)

Firs! Name

Middia Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

2

What the contract or lease is for

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Streat

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

2
Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Cade

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

page

of

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 28 of 36

UUM Cems luli Amn elt mot tote

per Avice SweerT Het

~ First Name Middle Name 7 Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of
Case number Check if this is:
(If Known)

LJ An amended filing

LA supplement showing postpetition chapter 13
income as of the following date:

Official Form 106] MMT DD) YYYY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

ra a Describe Employment

1. Fillin your employment -
information. Debtor 1 Debtor 2 or non-filing spouse

|f you have more than one job,
attach a separate page with

information about additional Employment status U] Employed Q) Employed
employers. ot employed CL) Not employed
Include part-time, seasonal, or |

self-employed work. tN

. Occupation
Occupation may include student P

or homemaker, if it applies.

Employer's name

Employer's address

Number Street Number Street

City State ZIP Code City State ZIP Code

How long employed there?

Cra Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
—_—_C__ton-fling spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ uy $

3. Estimate and list monthly overtime pay. 3. +§ + S$

4. Calculate gross income. Add line 2 + line 3. 4. $ ( ) $

Official Form 1061 Schedule I: Your Income page 1

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Document

wn SHMEEL TA swe tact

First Name Middie Name Last Name

Copy lime 4 Here... eee sees esssnesensssessnenssessnescsescenssesescateseeesesneesscanertens

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.
A1Sabi lity few Ae peacorlle

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assi
Specify:

af.

ce Program) ar housing subsidies.
aa Stem as SNAP

8g. Pension or retirement income

8g.
8h.

8h. Other monthly income. Specify: Coin o Tole _

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g + Bh.

10.Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.

10.

Page 29 of 36

Case number (if known),

For Debtor 1

—

For Debtor 2 or
_non-filing spouse _

$

$ §
§ $
$ $
$ $
$ $
$ $
$ $
+§ + §
$ $
5 ( > $
5 O $
$ — $
; 0S ;
Gee
$
<5 +7 ,
» O ‘
+$ GOO +¢
$ 3000 $

§ 300U +

s_P

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12.

13, Do you expect an increase or decrease within the year after you file this form?

W.+ §$

O

S oO

Combined
monthly income

QO) No.
es. Explain:

Official Form 106!

I fypect to Le emPoyd All ing

Schedule I: Your Income

page 2

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 30 of 36

Debtor 1 Thm CE Kz Al S WW Cot Act Case number (if known),

First Name Middle Name. Last Name

21. Other. Specify: 21. +5

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. $ XY / d ( §50
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ D
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 39 oj 14,50
f
23. Calculate your monthly net income. 3 -) OD
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a 8 L
23b. Copy your monthly expenses from line 22c above. 23b. —§ 39 { G / q, SO
23c. Subtract your monthly expenses from your monthly income. aS SO
The result is your monthly net income. 23c. s ae 4 14.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

QO] No.

Yes. Explain here: re Cor +ptal OM svn (S Yor iNCluaed 4 Ho
A School Expersee for dependants OV WN,
T Gas for ficlias Of AL penrderts

Official Form 106J Schedule J: Your Expenses page 3

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main

Document

MUM UCL Celim CoM (8 (cult i Am Zel mer ttm

vette Mttigg SweET Wert

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name
United States Bankruptcy Courtforthe: = s«CDistrict of

Case number
(if known)

Official Form 106J
Schedule J: Your Expenses

Page 31 of 36

Check if this is:

C) An amended filing

LJ A supplement showing postpetition chapter 13
expenses as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Ce Describe Your Household

1. Is this a joint case?

No. Go to line 2.
C) Yes. Does Debtor 2 live ina separate household?

QO) No
CJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? O No
Dependents relationship to Dependent's Does dependent live

Do not list Debtor 1 and Dves. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent..........0.0.0.0000000.. - —_—__—_— 7 Oo —
Do not state the dependents’ S O VY | 4 we
names. es

§ C) No

C) No

O) Yes
Q) No

QC) Yes
OQ) No

3. Do your expenses include Ke

expenses of people other than
yourself and your dependents? OC) Yes

Estimate Your Ongoing Monthly Expenses

OC) Yes

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule |: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes
4b. Property, homeowner's, or renter’s insurance
4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

Your expenses

s AYO

LSO

4c.

fn fF wm

4d

page 1

16.

17.

20.

Official Form 106J

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 32 of 36

Debtor 1 Thm cola t S WtCT tere

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Intemet, satellite, and cable services
6d. Other. Specify:

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2

Case number (it known).

17c. Other. Specify: Be rae of Peliguerasy Md (S

17d. Other. Specify:

Loo CF1N3 ~All | QUVIOW

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.

Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

6b.

6c.

17b.

Your expenses

O

AOO

[4D

RWS

{p00

AO

(QO

wef wf fF fF fF HH

[2

loo

Ad

52>

LZ]

wf 7 fF

wn wF fF

wf Ff fF fF fF

page 2

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 33 of 36

IME atm eleolMu etter i mcoM el Tatham cel el mer: t= m

=
{

Debtor 1 Am béttA 5 VV VE [ HymeT

First Name. Middle Nama. Last Name
Debtor 2
(Spouse, if filing) First Nama Middia Name Last Name
United States Bankruptcy Court for the: District of
Case number
(tf Known}

CQ) Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtalning money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

9

Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

ignature of Debtor 1 Signature of Debtor 2

Date Ite LOD Date
MM/" DD "} YYYY

Hetereceat no eee weap seman mdegusct aaa emmgsm ce gemma ce ene see HI 9 RRL nth inc

MM/ OO? YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

Case 24-30605 Doc1_ Filed 07/16/24

aM (AMM integer Vee) m Com CeCT nC Amn ce] mere item

(O) ase) meelitem ler ele) Wasim lieeieaccie Ma Em elder metals Bla)
me) actin Fara Cu bole] s) sha

Debtor? JAMEEKIA SWEET HART
First Nama Middia Name Last Name .
1. There is no presumption of abuse.
Debtor 2
(Spouse, IF fling) First Name Middle Nama Last Name C) 2. The calculation to determine if a presumption of
. .. abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: District of

Means Test Calculation (Official Form 1224-2).

Case number

{J 3. The Means Test does not apply now because of
(If known)

qualified military service but It could apply later.

LJ Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for belng accurate. If more
Space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you

do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) {Official Form 122A-1Supp) with this form.

a Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
J Not married. Fill out Column A, lines 2-11.
(] Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-11.

L] Married and your spouse is NOT filing with you. You and your spouse are:
L) Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

QO) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Flil In the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 17 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $___—-0.00 $
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $ : $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, Including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not 619.00
filled in. Do not include payments you listed on line 3. $__O1s.U $

5. Net income from operating a business, profession, Debtor 1 Debtor 2

or farm 0

Gross receipts (before all deductions) $__9.0( $e

Ordinary and necessary operating expenses -$ 0.00-§

Net monthly income from a business, profession, orfam g§ 0.00 5 pene $ 0.00 $
6. Net income from rental and other real property pabtay! Debtor 2

Gross receipts (before all deductions) $ _ 0.00 $C

Ordinary and necessary operating expenses -—$_0.00-$

Net monthly income from rental or other real property $ 0.00 5 roPyy, $ 0.00
7. Interest, dividends, and royalties $ 0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 35 of 36

Debtor1 4 JAMEEKIA SWEET HART Came nuniber wm
First Name Middla Name Last Name
Column A Cojumn B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation 5 0.00 5

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here:

9. Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. Also, except as stated in the next sentence, do

not include any compensation, pension, pay, annuity, or allowance paid by the

United States Government in connection with a disability, combat-related injury or

disability, or death of a member of the uniformed services. If you received any retired

pay paid under chapter 61 of title 10, then include that pay only to the extent that it

does not exceed the amount of retired pay to which you would otherwise be entitled if

retired under any provision of title 10 other than chapter 61 of that title. $ 0.00 $
10. Income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act; payments received

as a victim of a war crime, a crime against humanity, or international or domestic

terrorism; or compensation, pension, pay, annuity, or allowance paid by the United

States Government in connection with a disability, combat-related injury or disability, or

death of a member of the uniformed services. If necessary, list other sources on a

separate page and put the total below.

Cosmetologist ¢ 853.04 $

Total amounts from separate pages, if any. +$ +f

11. Calculate your total current monthly income. Add lines 2 through 10 for each + ee
column. Then add the total for Column A to the total for Column B. g 1,472.04 $ =!5 1,472.04

Total current
monthly income

oa Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from lim@ 11......-esccsesssssscscssscsscsssesscsessssvessssssosseesesscsestessesuesseveeceesce Copy line 14 heras> | $ 1,472.04 |
Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 12b. $17,664.48

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. North Carolina
Fill in the number of people in your household. 3
Fill in the median family income for your stata and size Of MOUSEMOIG. .........csscsscsscecesccsccscccscessssvsusessescesstssssssssccesssessessssesuvesevessseeseceee 43. 3 89,965.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a. Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 1224-2

14b. L] Line 12b is more than line 13. On the top of page 1, check box 2, The presurnption of abuse is determined by Form 1224-2.
Go to Part 3 and fill out Form 122A—-2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Case 24-30605 Doci1 Filed 07/16/24 Entered 07/16/24 15:49:36 Desc Main
Document Page 36 of 36

Dabtor 4 JAMEEKIA SWEET HART

First Name Middle Name Lasi Name

Case number (if known)

EEE ster soto

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

—
“Signature of Debtor 1 Signature of Debtor 2
bate 07/16/2024 Date
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2,

If you checked line 14b, fill out Form 122A-—2 and file it with this form.

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 3
